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UNDER SEAL

 

IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA

Alexandria Division

 

UNITED STATES OF AMERICA,

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2 2019

 

CLERK, U.S. DISTRICT COURT
ALEXANDRIA, VIRGINIA

 

v. Case No.: 1:19-mj-318
JOHN RUSSELL KESTEL,

and

ANDREW DOHERTY KAVOIAN,

Defendants.

GOVERNMENT’S MOTION TO SEAL
COMPLAINT PURSUANT TO LOCAL RULE 49(B)

The United States, by and through undersigned counsel, pursuant to Local Rule 49(B) of

the Local Criminal Rules for the United States District Court for the Eastern District of Virginia,

asks for an Order to Seal the complaint and affidavit in support of the complaint, until a further

Order of the Court is entered directing that the matter be unsealed.

I. REASONS FOR SEALING (Local Rule 49(B)(1))

i The Druge Enforcement Administration (“DEA”) and the Internal Revenue

Service (“IRS”) are conducting an investigation into John Russell KESTEL, Andrew Doherty

KAVOIAN, as well as other individuals, known and unknown, related to violations of 21 U.S.C.

Sections 841(a)(1) and 846.

2 Premature disclosure of the charge against the defendant would jeopardize an

ongoing criminal investigation threatening our ability to locate and arrest other subjects of the

investigation, may jeopardize the defendants’ ability to cooperate in the investigation, and may

lead to the destruction of evidence. Disclosure of the complaint and affidavit in support of the

complaint would provide other subjects of the investigation with a roadmap of the ongoing

 

 
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criminal investigation, including the identity of agents and potential witnesses involved, and alert
other subjects of the investigation to the possibility of the defendants’ cooperation.
II. REFERENCES TO GOVERNING CASE LAW (Local Rule 49(B)(2))

3. The Court has the inherent power to seal complaints and affidavits in support of
complaints. See United States v. Wuagneux, 683 F.2d 1343, 1351 (11th Cir. 1982); State of
Arizona v. Maypenny, 672 F.2d 761, 765 (9th Cir. 1982); Times Mirror Company v. United
States, 873 F.2d 1210 (9th Cir. 1989); see also Shea v. Gabriel, 520 F.2d 879 (1st Cir. 1975);
United States v. Hubbard, 650 F.2d 293 (D.C. Cir. 1980); Jn re Braughton, 520 F.2d 765, 766
(9th Cir. 1975). “The trial court has supervisory power over its own records and may, in its
discretion, seal documents if the public’s right of access is outweighed by competing interests.”
In re Knight Pub. Co., 743 F.2d 231, 235 (4th Cir. 1984). Sealing the complaint and affidavit in
support of the complaint is appropriate where there is a substantial probability that the release of
the sealed documents would compromise the government’s on-going investigation severely. See
e.g., In re Search Warrant for Secretarial Area Outside Office of Gunn, 855 F.2d 569, 574 (8th
Cir. 1988); Matter of Eye Care Physicians of America, 100 F.3d 514, 518 (7th Cir. 1996); Matter
of Flower Aviation of Kansas, Inc., 789 F.Supp. 366 (D. Kan. 1992).

III. PERIOD OF TIME GOVERNMENT SEEKS TO HAVE MATTER REMAIN
UNDER SEAL (Local Rule 49(B)(3))

4, The complaint and affidavit in support of the complaint would need to remain
sealed until a further Order of the Court is entered directing that the matter be unsealed.

5. Upon occurrence of the event specified in paragraph 4, pursuant to Local Rule
49(B)(3), the sealed materials will be automatically unsealed and handled as such.

6. The United States has considered alternatives less drastic than sealing and has -
found none that would suffice to protect this investigation. The United States will move to unseal

the documents before they are set to become automatically unsealed if it determines that

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circumstances warrant such action.

WHEREFORE, the United States respectfully requests that the complaint and affidavit in
support of the complaint and this Motion to Seal and proposed Order be sealed until a further
Order of the Court is entered directing that the matter be unsealed.

Respectfully submitted,

G. Zachary Terwilliger
United States Attorney

 

 

William Fitzpatrick
Assistant United States Attorney
